Case 8:23-bk-10571-SC          Doc 2447 Filed 06/27/25 Entered 06/27/25 12:37:11                     Desc
                                 Main Document Page 1 of 2



  1
          Keith C. Owens (Bar No 184841)
  2       Nicholas A. Koffroth (Bar No. 287854)
          FOX ROTHSCHILD LLP                                             FILED & ENTERED
  3       10250 Constellation Blvd., Suite 900
          Los Angeles, CA 90067
  4       Telephone:    (310) 598-4150                                         JUN 27 2025
          Facsimile:    (310) 556-9828
  5       kowens@foxrothschild.com                                        CLERK U.S. BANKRUPTCY COURT
          nkoffroth@foxrothschild.com                                     Central District of California
                                                                          BY bolte      DEPUTY CLERK
  6
          Counsel for Richard A. Marshack, Liquidation
  7       Trustee of the LPG Liquidation Trust

  8
                                  UNITED STATES BANKRUPTCY COURT
  9
                     CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
 10

 11
      In re                                                 Case No. 8:23-bk-10571-SC
 12
      The Litigation Practice Group P.C.,                   Chapter 11
 13
                       Debtor.                              ORDER APPROVING STIPULATION
 14                                                         MODIFYING MEDIATION AND
                                                            SETTLEMENT CONFERENCE
 15                                                         REQUIREMENT CONCERNING EARN-
                                                            OUT DISPUTE
 16
                                                            Judge:    Hon. Scott C. Clarkson
 17                                                         Date:     [No Hearing Required]
                                                            Time:     [No Hearing Required]
 18                                                         Place:    Courtroom 5C
                                                                      411 W. Fourth Street
 19                                                                   Santa Ana, CA 92701

 20             The Court, having read and considered the stipulation [Docket No. 2446] (the “Stipulation”)1

 21 to modify the mediation or settlement conference deadline set forth in the Stipulated Order and good
 22 cause appearing therefor,

 23             HEREBY ORDERS as follows:

 24             1.     The Stipulation is approved in its entirety.

 25             2.     The Stipulated Order is modified solely to waive the requirement that the Parties

 26
 27   1
      Unless otherwise defined herein, all capitalized terms have the definition set forth in the
 28 Stipulation.

      173869812.1
Case 8:23-bk-10571-SC       Doc 2447 Filed 06/27/25 Entered 06/27/25 12:37:11                   Desc
                              Main Document Page 2 of 2



  1 participate in mediation or settlement conference related to the Earn-Out Dispute no later than July

  2 1, 2025.
  3           3.     This Order is without prejudice to either or both Parties seeking a further order from

  4 this Court concerning mediation of the Earn-Out Dispute.
  5           4.     All other terms of the Stipulated Order remain in full force and effect.

  6                                                   ###

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18
 19

 20

 21
 22

 23
      Date: June 27, 2025
 24

 25
 26
 27

 28
                                                        2
      173869812.1
